Case 23-10763-djb           Doc 907     Filed 12/30/24 Entered 12/30/24 18:35:39                    Desc Main
                                        Document     Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    In re:                                                        Chapter 11

    Stream TV Networks, Inc., et al.1                             Bky Case No. 23-10763 (AMC)
                                                                  (Jointly Administered)
    The Debtors.


              VISUAL SEMICONDUCTOR, INC.'S DISCLOSURE OF CORPORATE
                       AFFILIATIONS AND FINANCIAL INTERESTS

             Pursuant to Local Rule 8012-1(b), any nongovernmental corporate party to a proceeding

before this Court must file a statement identifying all of its parent corporations and listing any

publicly held company that owns 10% or more of the party’s stock and requires that every party

to an appeal must identify on the Corporate Disclosure Statement every publicly owned

corporation not a party to the appeal, if any, that has a financial interest in the outcome of the

litigation and the nature of that interest. This information need be provided only if a party has

something to report. Furthermore, pursuant to Local Rule 8012-1(d), the appellant shall provide a

list identifying: 1) the debtor if not named in the caption; 2) the members of the creditors’

committee or the top 20 unsecured creditors; and, 3) any entity not named in the caption which is

an active participant in the bankruptcy proceedings.

             Visual Semiconductor, Inc. ("VSI"), by and through undersigned counsel, makes the

following disclosure:

             (1)    VSI has no parent company, and no publicly held corporation who owns ten

percent (10%) or more of VSI.




1
The Debtors, together with the last four digits of the Debtors' federal tax identification numbers, are Stream TV
Networks, Inc. (4092) and Technovative Media, Inc. (5015). The location of the Debtors' service address is: 2009
Chestnut Street, 3rd Floor, Philadelphia, PA 19103.

79319017;1
Case 23-10763-djb        Doc 907     Filed 12/30/24 Entered 12/30/24 18:35:39            Desc Main
                                     Document     Page 2 of 3



         (2)    If there is a publicly held corporation which is not a party to the proceeding before

this Court but which has as a financial interest in the outcome of the proceeding, please identify

all such parties and specify the nature of the financial interest or interests:




Dated: New York, New York
       December 30, 2024                        AKERMAN LLP

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                                                        -and-

79319017;1
Case 23-10763-djb   Doc 907   Filed 12/30/24 Entered 12/30/24 18:35:39         Desc Main
                              Document     Page 3 of 3



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